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                  BEFORE THE UNITED STATES JUDICIAL PANEL ON
                          MULTIDISTRICT LITIGATION


    In re: Oral Phenylephrine Marketing and
    Sales Practices Litigation                            MDL No. 3089



     INTERESTED PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION FOR TRANSFER
         AND COORDINATION OR CONSOLIDATION UNDER 28 U.S.C. § 1407

I.       INTRODUCTION

         Pursuant to 28 U.S.C. § 1407 and Rule 6.2 of the Rules of Procedure of the Judicial Panel

on Multidistrict Litigation, Interested Parties, Millard Adkins; Rosalyn Anderson; Eli Erlick;

Donna Bailey; Rosalie Jackson; Recoa Russell; Frank Anderson; and Tina Haluszka (“Plaintiffs”

or “Interested Parties” or “Adkins” or “Anderson”) respectfully submit this brief as interested

parties in support of Plaintiff Erin Barton’s Motion for Transfer of Actions Pursuant to 28 U.S.C.

§ 1407 for Coordinated or Consolidated Pretrial Proceedings. The Interested Parties join in the

motion for transfer to the Eastern District of Pennsylvania, or in the alternative the District of New

Jersey, as opposed to only the District of New Jersey. The Interested Parties include Plaintiffs from

the Adkins Complaint (New Jersey action) and Anderson Complaint (Pennsylvania action), 1 filed

under CAFA in the Eastern District of Pennsylvania and District of New Jersey, along with similar

class action and individual lawsuits filed in other federal courts 2 arising out of the September 12,




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  See Adkins, et al. v. The Procter & Gamble Company, et al., No. 2:23-cv-21051 (D.N.J), filed
October 11, 2023, and Anderson, et al. v. Reckitt Benckiser Pharmaceuticals Inc, et al., No. 2:23-
cv-03899 (E.D. Pa.), filed October 11, 2023.
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  As of ______, Interested Parties identified five additional related actions filed in federal court:
(1) Riccio v. Pfizer Inc., No. 1:23-cv-13843 (N.D. Ill.); (2) De Priest v. Walgreen Co., No. 1:23-
cv-14060 (N.D. Ill.); (3) Hsieh v. Reckitt Benckiser LLC, No. 1:23-cv-14404 (N.D. Ill.); (4) Fong
v. Johnson & Johnson Consumer Inc., No. 2:23-cv-02430 (D. Kan.); and (5) Coyle v.
GlaxoSmithKline, LLC, No. 1:23-cv-07311 (E.D.N.Y.).
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2023, FDA advisory panel which unanimously voted 16-0 finding that orally administered

phenylephrine drugs (“PE Drugs”) are not effective for treating nasal congestion.

       The Defendants in the Anderson Complaint include The Procter & Gamble Co., an Ohio

corporation, and GlaxoSmithKline LLC, a Delaware LLC. Generic brands included in the action

include The Kroger Co., an Ohio corporation, Target Corporation, a Minnesota corporation, and

Walmart Inc., a Delaware corporation. Each of the Defendants registered to do business in

Pennsylvania individually or through their affiliates and consented to general jurisdiction in

Pennsylvania pursuant to 42 Pa. Cons. Stat. § 5301(a)(2). See Mallory v. Norfolk S. Ry. Co., 600

U.S. 122 (2023).

       The Defendants in the Adkins Complaint include Reckitt Benckiser Pharmaceuticals Inc.,

Johnson & Johnson Consumer Inc.; Kenvue Inc.; Bayer Corporation; and GSK Consumer Health,

Inc. d/b/a Haleon, which are principally based in New Jersey and thus New Jersey has general

jurisdiction over these Defendants.

       The Plaintiffs filed in two separate jurisdictions because personal jurisdiction was

appropriate for the Defendants in two different states.

       Defendants designed, manufactured, advertising, marketed, and distributed and sold PE

Drugs which were advertised, marketed, warranted, and indicated as treating nasal congestion,

despite being totally ineffective or worthless in treating nasal congestion. As a result, Defendants’

PE Drugs were misbranded and worthless or were worth substantially less than plaintiff and class

members paid for them.

       The basis of Plaintiffs’ claims is that the Defendants’ PE Drugs marketed and sold for nasal

congestion are not effective. Since these PE drugs cannot treat the indicated condition, these drugs




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are adulterated, misbranded, not manufactured in accordance with FDA guidelines, and may not

be distributed or sold in United States. 21 U.S.C. §§ 33 (a), 351(a)(2)(B). A drug is misbranded if:

               a.      “If its labeling is false or misleading in any particular”;

               b.      “If any word, statement, or other information required … to appear on the
                       label or labeling is not prominently placed thereon…in such terms as to
                       render it likely to be read and understood by the ordinary individual under
                       customary conditions of purchase and use”;

               c.      If the labeling does not contain, among other things, “the proportion of each
                       active ingredient”;

               d.      “Unless its labeling bears (1) adequate directions for use; and (2) such
                       adequate warnings … against unsafe dosage or methods or duration of
                       administration or application, in such manner and form, as are necessary for
                       the protection of users”;

               e.      “If it purports to be a drug the name of which is recognized in an official
                       compendium, unless it is packaged and labeled as prescribed therein”;

               f.      “if it is an imitation of another drug”;

               g.      “if it is offered for sale under the name of another drug”;

               h.      “If it is dangerous to health when used in the dosage or manner, or with the
                       frequency or duration prescribed, recommended, or suggested in the
                       labeling thereof”;

               i.      If the drug is advertised incorrectly in any manner; and/or

               j.      If the drug’s “packaging or labeling is in violation of an applicable
                       regulation.”

       Thus, by manufacturing and selling PE drugs, Defendants are liable to the Plaintiffs.

II.    ARGUMENT

       A.      TRANSFER OF THE ACTIONS TO ONE COURT FOR COORDINATION
               OR CONSOLIDATION IS APPROPRIATE UNDER 28 U.S.C. § 1407.

       Transfer is appropriate when actions pending in different judicial districts involve similar

questions of fact such that coordinating or consolidating pretrial proceedings would “promote the



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just and efficient conduct of such actions.” 28 U.S.C. § 1407. In relevant part, Section 1407

provides as follows:

                When civil actions involving one or more common questions of fact
                are pending in different districts, such actions may be transferred to
                any district for coordinated or consolidated pretrial proceedings.
                Such transfers shall be made by the judicial panel on multidistrict
                litigation authorized by this section upon its determination that
                transfers for such proceedings will be for the convenience of parties
                and witnesses and will promote the just and efficient conduct of such
                actions.

Id.; see also In re Nifedipine, 266 F. Supp. 2d 1382, 1382 (J.P.M.L. 2003). The purpose of

multidistrict litigation is to “eliminate the potential for conflicting contemporaneous pretrial

rulings by coordinate district and appellate courts in multidistrict related civil actions.” In re

Plumbing Fixture Cases, 298 F. Supp. 484, 491-92 (J.P.M.L. 1968); In re Ethicon Physiomesh

Flexible Composite Hernia Mesh Prod. Liab. Litig., 254 F. Supp. 3d 1381, 1382 (J.P.M.L. 2017)

(same); In re Capital One Customer Data Sec. Breach Litig., 396 F. Supp. 3d 1364, 1365 (J.P.M.L.

2019) (same).

       Pursuant to 28 U.S.C. § 1407, transfer of actions to one district for coordinated or

consolidated pretrial proceedings is appropriate where: (1) actions pending in different districts

involve one or more common questions of fact, and (2) the transfer of such actions will be for the

convenience of the parties and witnesses and will promote the just and efficient conduct of such

actions. 28 U.S.C. § 1407(a); Ethicon Physiomesh, 254 F. Supp. 3d at 1382 (transfer of related

actions to a single district for pretrial proceedings “conserve[s] the resources of the parties, their

counsel, and the judiciary.”); Capital One Customer Data Sec. Breach, 396 F. Supp. 3d at 1365

(same). Consolidation is especially important in multidistrict litigations where “the potential for

conflicting, disorderly, chaotic” action is greatest. Plumbing Fixture Cases, 298 F. Supp. at 493.




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       Consolidation of actions involving common factual questions makes sense when numerous

judges will be asked to address similar pretrial matters and resolve similar pretrial motions

involving similar fact patterns. See In re Fosamax Prods. Liab. Litig., 444 F. Supp. 2d 1347, 1349

(J.P.M.L. 2006). Notably, “[t]ransfer under Section 1407 does not require a complete identity or

even a majority of common factual or legal issues as a prerequisite to transfer. Centralization will

permit all actions to proceed before a single transferee judge who can structure pretrial proceedings

to consider all parties’ legitimate discovery needs, while ensuring that common parties and

witnesses are not subjected to duplicative discovery demands.” In re Katz Interactive Call

Processing Patent Litig., 481 F. Supp. 2d 1353, 1355 (J.P.M.L. 2007).

       Here, there are already seven pending federal actions in five districts and many more to

come. Inconsistent judicial rulings in litigation affecting millions of purchasers and users of PE

Drugs are precisely the type of disorderly and chaotic action that consolidation and coordination

under Section 1407 was intended to prevent. The transfer of the Actions to the same court for

consolidated or coordinated proceedings is appropriate because common questions of fact exist,

and consolidation or coordination before one court will ensure efficient management of the

litigation and avoid inconsistent rulings on these issues impacting so many Plaintiffs across the

United States.

                 1.    The Actions Involve Common Factual Questions.

       Here, all of the Actions, and any tag-along actions, will require a determination of whether

PE drugs are ineffective, entitling millions of purchasers and users to economic damages for the

losses sustained. Section 1407 does not require a majority of common factual issues as a condition

of transfer only that there are common questions presented. See, e.g., In re Ins. Brokerage Antitrust

Litig., 360 F. Supp. 2d 1371, 1372 (J.P.M.L. 2005) (“To those defendants opposing transfer

because they wish to litigate the arguably narrower or more questionable claims against them
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without entanglement in a litigation that they consider to be much broader in scope, we point out

that transfer under Section 1407 does not require a complete identity or even majority of common

factual issues as a prerequisite to transfer.”). In this case, the facts surrounding Defendants in the

manufacture, marketing, and sale of their PE Drugs applies equally to all Plaintiffs.

       The fact that the Actions are based on various state law claims for damages does not

preclude consolidated or coordinated discovery, because the central issues—whether the recalled

PE Drugs are ineffective and worthless—will be the same across all cases. See, e.g., In re National

Prescription Opiate Litig., 290 F. Supp. 3d 1375, 1379 (J.P.M.L. 2017) (“Although individualized

factual issues may arise in each action, such issues do not – especially at this early stage of

litigation – negate the efficiencies to be gained by centralization. The transferee judge might find

it useful, for example, to establish different tracks for the different types of parties or claims. The

alternative of allowing the various cases to proceed independently across myriad districts raises a

significant risk of inconsistent rulings and inefficient pretrial proceedings.”); In re: Checking

Account Overdraft Litig., 626 F. Supp. 2d 1333, 1335 (J.P.M.L. 2009) (“While there will be some

unique questions of fact from bank-to-bank, these actions share sufficient factual questions relating

to industry-wide bank posting policies and procedures to warrant centralization of all actions in

one MDL docket.”). The Panel and transferee courts have routinely dealt with complexities,

including Plaintiffs with varied claims and injuries. See, e.g., Checking Account Overdraft, 626 F.

Supp. 2d at 1335; National Prescription Opiate, 290 F. Supp. 3d at 1379; c.f. In re Silicone Gel

Breast Implants Prod. Liab. Litig., 793 F. Supp. 1098, 1099-1100 (J.P.M.L. 1992) (transfer and

centralization of claims against multiple defendants by plaintiffs claiming different injuries); In re

Orthopedic Bone Screw Prod. Liab. Litig., 1997 WL 186325, at *1-2 (E.D. Pa. Apr. 16, 1997)




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(more than 2,000 civil actions including claims of different types of injuries caused by products

manufactured by dozens of defendants).

       What is important and relevant to the Panel’s decision is that transfer and consolidation or

coordination will provide a consistent and uniform resolution to the common factual issues, which

will facilitate the efficient adjudication of all the Actions even considering any differences that

may exist. “[T]ransfer under Section 1407 has the salutary effect of placing all actions in th[e]

docket before a single judge who can formulate a pretrial program that: 1) allows discovery with

respect to any non-common issues to proceed concurrently with discovery on common issues, In

re Joseph F. Smith Patent Litigation, 407 F. Supp. 1403, 1404 (Jud.Pan.Mult.Lit.1976); and 2)

ensures that pretrial proceedings will be conducted in a manner leading to a just and expeditious

resolution of the actions to the benefit of not just some but all of the litigation’s parties.” Ins.

Brokerage Antitrust, 360 F. Supp. 2d at 1372; see also Checking Account Overdraft, 626 F. Supp.

2d at 1335. The common questions of fact that are implicated here weigh heavily in favor of

consolidation and coordination.

               2.      Transfer Will Serve the Convenience of the Parties and Witnesses and
                       Will Promote the Just and Efficient Conduct of the Actions.

       According to the Manual for Complex Litigation, the following four factors govern

whether transfer will facilitate the convenience of the parties and promote the just and efficient

conduct of the transferred cases:

               1.      The elimination of duplicative discovery;

               2.      The avoidance of conflicting rules and schedules;

               3.      The reduction of litigation cost; and

               4.      The conservation of the time and effort of the parties, attorneys, witnesses,
                       and courts.



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Manual for Complex Litigation (Fourth), § 20.131.

        In this litigation, there are currently seven pending actions in five different districts but

those numbers are sure to rise rapidly. 3 Each Action involves virtually identical factual questions

regarding Defendants’ conduct, and overlapping issues exist concerning Plaintiffs’ damages.

Consolidation or coordination will eliminate the likelihood of duplicative discovery and

proceedings that might result in inconsistent rulings and will prevent judicial resources from being

needlessly wasted. See In re Vioxx Prod. Liab. Litig., 360 F. Supp. 2d 1352, 1354 (J.P.M.L. 2005);

see also In re Amino Acid Lysine Antitrust Litig., 910 F. Supp. 696, 698 (J.P.M.L. 1995)

(concluding that consolidation was necessary to eliminate inconsistent pretrial rulings); In re A.H.

Robins Co. “Dalkon Shield” IUD Prod. Liab. Litig., 406 F. Supp. 540, 542 (J.P.M.L. 1975)

(concluding that transfer was necessary to prevent duplication of discovery and to eliminate the

possibility of conflicting pretrial rulings).

        Without transfer, coordination, and/or consolidation of the Actions and tag-along cases,

litigation will needlessly entail judicial inefficiency and unnecessary expense. Further, different

federal courts, in duplicating rulings on the same issues, could make contradictory findings.




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  Seven actions are more than enough to warrant transfer and coordination or consolidation in light
of the questions at issue here. See, e.g., Manual for Complex Litigation (Fourth) § 20.131 (“As
few as two cases may warrant multidistrict treatment …”); In re Dynamic Random Access Memory
(DRAM) Antitrust Litig., 228 F. Supp. 2d 1379, 1380 (J.P.M.L. 2002) (transferring and
consolidating two cases); In re Philadelphia Life Ins. Co. Sales Practices Litig., 149 F. Supp. 2d
937, 938 (J.P.M.L. 2001) (granting transfer and consolidation of two cases); In re Amoxicillin
Patent & Antitrust Litig., 449 F. Supp. 601, 603 (J.P.M.L. 1978) (granting transfer and
consolidation of three cases involving complex patent and antitrust issues); In re: Park West
Galleries, Inc., Mktg. & Sales Practices Litig., 645 F. Supp. 2d 1358, 1360 (J.P.M.L. 2009)
(transfer ordered where three actions were pending in three districts); In re FieldTurf Artificial
Turf Mktg. & Sales Practices Litig., 2017 WL 2391963, at *2 (J.P.M.L. June 1, 2017) (transfer
ordered where twelve to fourteen actions (including tag-alongs) were pending in nine districts).
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Litigation of this scope and importance should not be beset with such inconsistencies and

inefficiencies.

        B.        THE EASTERN DISTRICT OF PENNSYLVANIA IS THE
                  APPROPRIATE FORUM FOR TRANSFER AND COORDINATION OR
                  CONSOLIDATION.

        In this nationwide case affecting millions of purchasers and users of PE drugs, the Eastern

District of Pennsylvania is an appropriate and ideal transferee district for the litigation. The Eastern

District of Pennsylvania is a geographically centralized and accessible forum for many of the

Plaintiffs who have been affected by the recall of PE drugs, especially those residing from

Massachusetts through Georgia. See id. (focusing on the Southern District of Ohio’s geographic

location and convenience). Philadelphia is easily accessible by Amtrak from all of those locations

and as the sixth largest city in the United States, it has ample accommodations for business

travelers. Philadelphia is also serviced by Philadelphia International Airport, a large international

airport with routes to every corner of the country and beyond. The infrastructure is certainly in

place to host this MDL.

        Further, the Eastern District of Pennsylvania has capable staff with a long history of

successfully managing high-profile multidistrict litigation. See, e.g., In re Diet Drugs

(Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig., 990 F. Supp. 834 (J.P.M.L.

1998); In re Tylenol (Acetaminophen) Mktg., Sales Practices and Prods. Liab. Litig., 936 F. Supp.

2d 1379 (J.P.M.L. 2013); In re Zoloft (Sertraline Hydrochloride) Prods. Liab. Litig., 856 F. Supp.

2d 1347 (J.P.M.L. 2012); In re: Nat’l Football League Players’ Concussion Injury Litig., 842 F.

Supp. 2d 1378 (J.P.M.L. 2012); Orthopedic Bone Screw, 1997 WL 186325, at *1-2. The Eastern

District of Pennsylvania’s docket demonstrates that the court has the capacity to handle this




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litigation. As of December 31, 2020, the Eastern District of Pennsylvania had 10,123 pending cases

with a median time from filing to disposition of 6 months. 4

       In the alternative, Interested Plaintiffs propose the District of New Jersey. New Jersey is a

convenient forum for this litigation as well and is home to multiple Defendants.

III.   CONCLUSION

       For these reasons, Interested Parties f respectfully requests that the Panel grant its motion

for transfer and coordination or consolidation under 28 U.S.C. § 1407 and transfer the Actions to

the Eastern District of Pennsylvania or, in the alternative, the District of New Jersey.



Dated: October 16, 2023                               Respectfully submitted,



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    See United States District Court – Judicial Caseload Profile, at                              16,
https://www.courts.gov/sites/default/files/data_tables/fcms_na_distprofile1231.2020.pdf.
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